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SENTENCING MINUTES

DATE: 1O\\|\)

ube: (S) anew

INTERPRETER:

caseNuMBER: 3 ICRP)
crreporter: ©: Halasz, OCR

UNITED STATES OF AMERICA

Bort \w Wood bury

SENTENCING ON COUNT(S):

PRELIMINARY MATTERS:

M ichae| A Jagels , AUSA
COUNSEL

Matthew 1. aulk _ESO.

( ) Criminal Information
(/%) Indictment (__) Superseding Ind.

OBJECTIONS TO PSR: NONE, adopted as. +eudered

STATEMENTS MADE BY: soo’ ) DEFENSE COUNSEL (/) DEFT( )

ON MOTION OF GOV’T, (_ ) INDICTMENT (_ ) REMAINING CTS. DISMISSED.

DEFENDANT TO VOLUNTARILY REPORT TO DESIGNATED INSTITUTION

ON:

BY: |

( ) IF NO DESIGNATION MADE, REPORT TO U.S. MARSHAL IN RICHMOND

DEFT ADVISED OF RIGHT OF APPEAL within 14 days of today (“4

DEFT REMANDED TO CUSTODY ( 4,

CASE SET: BEGAN:

OD. 00eW 01am

ENDED: TIME IN COURT:

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PAGE TWO (2)

SENTENCE TEXT

COUNT | IMPRISONMENT I -MOS. CONCURRENT( ) CONSECUTIVE(_ )
CREDIT FOR TIME SERVED ON THIS CHARGE ( 4
SUPERVISED RELEASE 4 YEARS
PROBATION YEARS
FINE $ _ ww Finn not imposed
SPECIAL ASSESSMENT $1Ol ) due immediately

COUNT IMPRISONMENT MOS. CONCURRENT( ) CONSECUTIVE( )
SUPERVISED RELEASE YEARS CONCURRENT( )
PROBATION YEARS CONCURRENT (_ )
FINE $ () Fine not imposed
SPECIAL ASSESSMENT $__ due immediately

COUNT IMPRISONMENT MOS. CONCURRENT(  ) CONSECUTIVE(_ )
SUPERVISED RELEASE YEARS CONCURRENT (__ )
PROBATION YEARS CONCURRENT (_ )
FINE $ ( ) Fine not imposed
SPECIAL ASSESSMENT $ due immediately

CONSENT ORDER OF FORFEITURE MADE A PART OF JUDGMENT IN CASE ( /,

RESTITUTION ORDERED:

RECOMMENDATION(S) TO BOP: or otner
( Y Designate dft. to a facility near family ( A, Designate dft. to Wlerabura FCI weary facili

( )SHOCK Incarceration Program ( ) BRAVE Program / 2 c
( /) Educational / Vocational training ( “) BOP 500-hr intensive drug treatment program, Fayalihess
( )UNICOR program ( — ) with portion of earnings directed to child support Volunteers,

( ) OTHER:

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PAGE THREE (3)

SPECIAL CONDITIONS of Probation / Supervised Release:

J (1) Incur no new credit without approval of probation officer
a (2) Provide probation officer with access to financial information
(3) Perform community service __ HOURS during period of supervision
-/ (4) Participate in drug/alcohol treatment; -~__ Pay cost of treatment (¥ must include drug testing)
/_(5) Participate in mental health treatment; / Pay cost of treatment
Participate in anger management
(6) Participate in home confinement program for with monitoring
Permitted to work, attend church, or other approved activities
Maintain telephone without special features; no cordless phone
Pay costs of electronic monitoring
(7) Placement in a Community Confinement Center for (term)
___(8) Defendant to be surrendered to BICE for deportation proceedings
If deported, defendant to remain outside the United States
(10) Mandatory drug testing waived
Probation officer may still administer drug test if deemed appropriate
/ (11) Pay child support in amount ordered by social services or Court
(13) Serve intermittent confinement on weekends fora period of ss DAYS
(14) No possession of pager, cellular telephone, or other handheld communication device
Y _(15) Defendant shall pay any balance owed on the S/A imposed by the Court
/__ Pay in installments of not less than $ ad per month,
to begin 30 (60days after start of supervision until paid in full

(16) Waive all rights of confidentiality regarding mental health treatment
(or other treatment) to allow release of information to Probation, etc.

(17) Commencing , and continuing for , defendant may
operate a motor vehicle only for purposes of work and court, including travel to
the Probation Office and alcohol treatment program

(18) Defendant to apply monies received from tax refunds, lottery winnings, and any

anticipated or unexpected financial gains to the Court-ordered financial obligation

__S (---) Other special conditions:
~ he difendant svall wot ConsMe any alceho!
= Comhnue to work ™ obraning GED 3 must wake
_sansfactony preareSS as determined Wy the. eabution officer
— the APt shall attend A0 rwet Nas 1A AO dau S at AANA OF

secular eqpuivale rrt tht is approved by dhe. Couct

- he dafendant must obtain a SPonse c that will notify the.
Probuton office that Ne is the sporisor

